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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )           8:13CR286
                    Plaintiff,                 )
                                               )
      vs.                                      )            ORDER
                                               )
VICENTE DE LAO-OLVERA and                      )
JOSE PABLO BOJORQUEZ-QUEVEDO,                  )
                                               )
                    Defendants.                )


      Unless specifically requested by a party for good cause, the arraignment on the
Superseding Indictment in this matter shall immediately precede jury selection or the
change of plea hearing, whichever is applicable.


      IT IS SO ORDERED.


      DATED this 30th day of September, 2013.


                                               BY THE COURT:

                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
